                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                        Plaintiff,                                          8:5-CR-24

        vs.
                                                         ORDER ON MOTION FOR SENTENCE
GUILLERMO BORBOA,                                                 REDUCTION

                        Defendant.


       This matter is before the Court on defendant Guillermo Borboa’s Motion for Sentence

Reduction pursuant to 18 U.S.C. § 3582(c)(1)(A) (compassionate release). Filing 153. The Court

notes that it has already denied a similar motion from Borboa. Filing 126. The grounds for

Borboa’s Motion include “methamphetamine sentencing disparity, co-defendant disparity,

national sentencing disparity, the lack of reduction for acceptance of responsibility under USSG §

3El.l, and the imposition of a 2-point enhancement for obstruction of justice under USSG § 3Cl.1.”

Filing 153 at 1. For the reasons stated below, Borboa’s Motion is denied.

       The statute under which Borboa brings his motion for compassionate release states in

relevant part:

       [T]he court . . . may reduce the term of imprisonment (and may impose a term of
       probation or supervised release with or without conditions that does not exceed the
       unserved portion of the original term of imprisonment), after considering the factors
       set forth in section 3553(a) to the extent that they are applicable, if it finds that . . .
       extraordinary and compelling reasons warrant such a reduction . . . and that such a
       reduction is consistent with applicable policy statements issued by the Sentencing
       Commission.

18 U.S.C. § 3582(c)(1)(A). Moreover, Section 1.B1.13(b) of the United States Sentencing

Guidelines sets out several specific circumstances—including medical circumstances, age, and

being the victim of abuse—that qualify as “extraordinary and compelling reasons” that may



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warrant a reduced sentence. In addition, Section 1.B1.13(b)(5) allows for relief based on “other

reasons” where “[t]he defendant presents any other circumstance or combination of circumstances

that are similar in gravity to” the enumerated reasons. Further, there is no need to “make a specific

rejoinder to every circumstance cited in support of a reduction,” United States v. Loggins, 966 F.3d

891, 893 (8th Cir. 2020), and district courts have “broad discretion” when considering whether the

18 U.S.C. § 3553(a) sentencing factors warrant early release, United States v. Marcussen, 15 F.4th

855, 859 (8th Cir. 2021). Finally, the Eighth Circuit Court of Appeals has cautioned that “[t]he

compassionate release statute is not a freewheeling opportunity for resentencing based on

prospective changes in sentencing policy or philosophy.” United States v. Crandall, 25 F.4th 582,

586 (8th Cir. 2022).

       Because Borboa indicated that he exhausted his administrative remedies, Filing 153 at 2,

the Court turns directly to the merits of his claims. Regarding the sentencing disparity between

defendants charged with a mixture containing methamphetamine and those charged with actual

methamphetamine, a “district court may vary from the meth guidelines based on a policy

disagreement . . . [but] nothing mandates it to do so.” United States v. Moore, 835 F. App’x 172

(8th Cir. 2021) (per curiam) (citing United States v. Sharkey, 895 F.3d 1077, 1082 (8th Cir. 2018)).

The undersigned has no such policy disagreement with the guidelines on this issue. See e.g., United

States v. Inman, No. 8:21–CR–60, 2023 WL 4201164, at *2 (D. Neb. June 27, 2023) (“The Court

explained that it did not have a policy disagreement with the guidelines’ treatment of

methamphetamine actual versus methamphetamine mixture.”). Thus, the Court declines to reduce

Borboa’s sentence on this ground.

       Regarding the alleged disparity between Borboa’s sentence and that of his codefendant, the

record shows that the late Judge Smith Camp dismissed without prejudice the case against



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Borboa’s codefendant, Filing 63, and Borboa has not provided any information about his

codefendant’s purported sentence. As “the inmate bears the burden to establish that compassionate

release is warranted, and the district court is not required to investigate possible avenues for relief

or to develop the record in support of a motion,” United States v. Avalos Banderas, 39 F.4th 1059,

1062 (8th Cir. 2022) (citing United States v. Jones, 836 F.3d 896, 899 (8th Cir. 2016)), the Court

declines to reduce Borboa’s sentence on this ground. For the same reason—namely, Borboa’s

failure to provide any factual information or explanation in support of his claims—the Court

declines to reduce Borboa’s sentence due to “the lack of reduction for acceptance of responsibility

under USSG § 3El.l, and the imposition of a 2-point enhancement for obstruction of justice under

USSG § 3Cl.1.” FIling 153 at 1. Further, the Court notes that even if Borboa provided additional

information, the Court doubts he could provide facts that would outweigh the significant 18 U.S.C.

§ 3553(a) factors that counsel against a sentence reduction.

       Regarding the alleged “lighter sentences typically received by others nationwide for similar

offenses,” Filing 153 at 4, a district court does not abuse its discretion simply because “other

district courts may have granted compassionate release for defendants with similar backgrounds.”

United States v. Marcussen, 15 F.4th 855, 859 (8th Cir. 2021). In addition, Borboa’s rehabilitation

“is not, by itself, an extraordinary and compelling reason for purposes of this policy statement.”

U.S.S.G. 1B1.13(d). Thus, none of Borboa’s asserted grounds for relief justify reducing his

sentence, especially when weighed against the 18 U.S.C § 3553(a) factors, such as “the nature and

circumstances of the offense” and “the need for the sentence imposed . . . to reflect the seriousness

of the offense, to promote respect for the law, and to provide just punishment for the offense.”

       Finally, Borboa requests appointed counsel. Filing 153 at 4. It is well established that “there

is no constitutional right to counsel in § 3582(c) proceedings.” United States v. Brown, 565 F.3d



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1093, 1094 (8th Cir. 2009). The Court declines to appoint counsel given the straight-forward nature

of the issues presented. Accordingly,

       IT IS ORDERED that Borboa’s Motion for Sentence Reduction, Filing 153, is denied.


       Dated this 26th day of September, 2024.

                                                     BY THE COURT:


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                                                     Brian C. Buescher
                                                     United States District Judge




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